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                                   MAGISTRATE JUDGE'S MINUTES
                         IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF ARIZONA – FLAGSTAFF
U.S. Magistrate Judge: Camille D. Bibles          Date: August 3, 2022
USA v. Matthew Christopher Riser                  Case Number: CR-22-08054-001-PCT-CDB

Assistant U.S. Attorney: Patrick Joseph Schneider
Attorney for Defendant: Sean Kautenburger for CJA Attorney Daniel Benjamin Kaiser
Interpreter: N/A
Defendant: ☒ Present ☐ Not Present ☐ Released ☒ Custody ☐ Summons ☐ Writ

Defendant appears by telephone and consents to proceed in this manner.

INITIAL APPEARANCE – REVOCATION HEARING HELD
PETITION FOR VIOLATION OF PROBATION
Date of Arrest: August 1, 2022
☒ NO Financial Affidavit taken; Defendant sworn as to financial status.
☒ Appointing attorney Daniel Benjamin Kaiser, CJA, on behalf of the defendant for Flagstaff
   proceedings only.
☒ Defendant shall be temporarily detained in the custody of the United States Marshal.
OTHER: Petition to Revoke shall be unsealed.

Oral Motion to Dismiss Petition to Revoke by Defense Counsel with argument. Oral Order by the Court
   denying Motion to Dismiss Petition to Revoke.

Court orders Defendant be transported back to Flagstaff, Arizona for all further proceedings.

Detention Hearing and Status Hearing regarding Preliminary Revocation Hearing set for Monday,
August 8, 2022 at 10:00 a.m. before Magistrate Judge Camille D. Bibles at 123 N. San Francisco Street,
Flagstaff, Arizona.

Recorded By Courtsmart                                                           IA     11 min
Deputy Clerk Christina Davison
                                                                                 Start: 10:27 am
                                                                                 Stop: 10:38 am
